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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                                Case No. 1:06:CR:179
v.
                                                         HON. GORDON J. QUIST
SAMUEL LEE FITZPATRICK, JR.,

            Defendant.
______________________________/

                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed December 7, 2006,

is approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Samuel Lee Fitzpatrick, Jr.'s plea of guilty to Count 3 of the First

Superseding Indictment is accepted. Defendant Samuel Lee Fitzpatrick, Jr. is adjudicated guilty and

bond will be revoked at the time of reporting.

       3.      Defendant Samuel Lee Fitzpatrick, Jr. shall report to the United States Marshal in

Grand Rapids, Michigan, at 2:00 PM, Monday, January 8, 2007. Defendant Samuel Lee

Fitzpatrick, Jr. shall be detained pending sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: December 21, 2006                                       /s/ Gordon J. Quist
                                                              GORDON J. QUIST
                                                         UNITED STATES DISTRICT JUDGE
